         IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF VIRGINIA
                        ALEXANDRIA DIVISION


UNITED STATES OF AMERICA      )
                              )
                              )
v.                            )       CRIMINAL ACTION NO. 05-053
                              )
AHMED OMAR ABU ALI,           )
                              )
          Defendant.          )


                              ORDER

     THIS MATTER is before the Court on Defendant’s Motion to

Stay Pending Proceedings (Docket No. 369).    This case concerns

the conviction of Mr. Ahmed Omar Abu Ali under various statutes

that preclude a citizen from rendering, or conspiring to render,

assistance or support to a designated foreign terrorist

organization or terrorist; and conspiracy to assassinate the

President of the United States.1   The issue before the Court is

whether the government is required to provide a response to

Defendant’s requests regarding whether information obtained by


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       The defendant, Mr. Abu Ali, was convicted of the following
offenses: Conspiracy to Provide Material Support and Resources to
a Designated Foreign Terrorist Organization (Al-Qaeda), 18 U.S.C.
§ 2339B (Count 1); Providing Material Support and Resources to a
Designated Foreign Terrorist Organization (Al-Qaeda), 18 U.S.C. §
2339B (Count 2); Conspiracy to Provide Material Support to
Terrorists, 18 U.S.C. § 2339A (Count 3); Providing Material
Support to Terrorists, 18 U.S.C. § 2339A (Count 4); Contribution
of Services to Al-Qaeda, 50 U.S.C. § 1705(b); 31 C.F.R. § 595.204
(Count 5); Receipt of Funds and Services from Al-Qaeda, 50 U.S.C.
§ 1705(b); 31 C.F.R. § 595.204 (Count 6); Conspiracy to
Assassinate the President, 18 U.S.C. § 1751 (Count 7); Conspiracy
to Commit Aircraft Piracy, 49 U.S.C. § 46502(a)(2) (Count 8); and
Conspiracy to Destroy Aircraft, 18 U.S.C. § 32(b)(4) (Count 9).
the newly discovered presidentially approved warrantless

interception of electronic communications (“PAWIEC”)2 was (1) used

to obtain a warrant from the Foreign Intelligence Surveillance

Act (“FISA”) Court; or (2) used in obtaining evidence that was

presented to the jury at trial.    The Court holds that the

government must respond to Defendant’s requests regarding whether

information obtained by PAWIEC was (1) used to obtain a warrant

from the FISA Court; or (2) was used in obtaining evidence that

was presented to the jury at trial.

     On February 1, 2006, Defendant made a formal request to the

government concerning issues raised by PAWIEC.       Defendant’s

questions included whether any of the prosecutors were aware of

PAWIEC during Mr. Abu Ali’s trial, when law enforcement officials

involved in the federal prosecution of Mr. Abu Ali learned about

PAWIEC, and whether any government intercepts that have not been

disclosed relate to Mr. Abu Ali.       (Def.’s Br. 4-5.)   The

government responded that it “is reviewing the defendant’s

request for information regarding the NSA matter as expeditiously

as possible.” (Govt.’s Br., at 2.)       The government also offered

that, “[i]n the event that [they are] obligated to provide

additional information to the defendant or Court, [they would] do

so without delay.”   (Id.)



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     The Court uses the term “electronic communications” as
defined by 18 U.S.C. § 2510(12) and 18 U.S.C. 2701.

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     The Court held a teleconference on February 16, 2006, where

it invited the government to tell the Court whether any

information gathered from PAWIEC was used to obtain a warrant

from the FISA Court or was used in obtaining evidence that was

presented to the jury at trial.   Mr. Laufman maintained that

neither he, nor any of the prosecution team, was aware of any

PAWIEC information used to obtain a warrant from the FISA Court

or used in obtaining evidence that was presented to the jury at

trial.

     The Court does not challenge the veracity Mr. Laufman’s

statement and accepts it on its face.   However, the Court notes

that prosecutors in this case may not know that some intelligence

agency or officials, with whom they have been closely working,

sought FISA warrants that were the product of presidentially

authorized warrantless interception of electronic communications.

See Electronic Privacy Information Center v. Department. of

Justice, Civ. No. 06-00096, 2 (D.D.C. February 16, 2006),

http://www.dcd.uscourts.gov/opinions/2006/Kennedy/2006-CV-96~9:45

:49~2-16-2006-a.pdf (citing a New York Times article stating that

President George Bush “secretly authorized the National Security

Agency to eavesdrop on Americans and others inside the United

States to search for evidence of terrorist activity without

court-approved warrants ordinarily required for domestic

spying”).   This makes it difficult for the Court to determine


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whether any of Mr. Abu Ali’s constitutional rights have been

violated in this case.

     Therefore, the Court orders that the government must file

with the Court, by March 9, 2006, a Declaration under oath of

someone with personal knowledge; the authority to speak on behalf

of the government, its intelligence agencies and contractors; and

who can definitively answer whether PAWIEC information was (1)

used to obtain a warrant from the FISA Court or (2) used in

obtaining evidence that was presented to the jury at trial.    If

the declaration contains classified information, or is otherwise

required to be filed ex parte, then the government must follow

the procedures in place in this case regarding filing and access

to classified information.

     If the answer is that PAWIEC information was not used, then

the Court will set a date certain for Mr. Abu Ali’s sentencing

hearing.   If the answer was that PAWIEC information was used, the

government must identify, by March 9, 2006, what information was

used, the nature and extent of that information, and what

specific constitutional or statutory authority the government

relied on in obtaining the information without a warrant.

     Defendants are ordered to file a brief, based on the

government’s assertions, to suggest what action, if any, the

Court should consider, by March 23, 2006.   The government’s reply

to Defendant’s brief must be filed by March 30, 2006.   The Court


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will hold, if necessary, a hearing on these issues on April 6,

2006, at 10:00am.

     The Court emphasizes that no judgment has been made

regarding whether the government has used evidence obtained by

warrantless interception of electronic communications.     However,

in view of the United States Court of Appeals for the Fourth

Circuit’s decision in United States v. Al-Timimi, No. 05-4761 CR-

04-385 (4th Cir. January 24, 2006), remanding a so-called

terrorism case to the district court to conduct an evidentiary

hearing on warrantless electronic surveillance issues, it is

proper to make a record on this issue in this case prior to

sentencing.

     For the foregoing reasons, it is hereby

     ORDERED that the government must file with the Court, by

March 9, 2006, a Declaration under oath of someone with personal

knowledge; the authority to speak on behalf of the government,

its intelligence agencies and contractors; and who can

definitively answer whether PAWIEC information was (1) used to

obtain a warrant from the FISA Court; or (2) used in obtaining

evidence that was presented to the jury at trial.   It is further

     ORDERED that if the answer is that PAWIEC information was

not used, then the Court will set a date certain for Mr. Abu

Ali’s sentencing hearing.   It is further




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     ORDERED that if PAWIEC information was used, the government

must identify, by March 9, 2006, what information was used, the

nature and extent of that information, and what specific

constitutional or statutory authority the government relied on in

obtaining the information without a warrant.   Defendants are

ordered to file a brief, based on the government’s assertions, to

suggest what action, if any, the Court should consider, by March

23, 2006.   The government’s reply to Defendant’s brief must be

filed by March 30, 2006.   The Court will hold, if necessary, a

hearing on these issues on April 6, 2006, at 10:00am.

     The Clerk is directed to forward a copy of this Order to

counsel of record.

     ENTERED this ___17th___ day of February, 2006.


                                     ___________/s/_______________
                                     Gerald Bruce Lee
                                     United States District Judge
Alexandria, Virginia
02/17/06




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